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                                                  NOTICE TO PLEAD
                                                  To Defendant/Counterclaimant:
                                                  You are hereby notified to file a written response to the
                                                  enclosed New Matter (20) daysFiled and Attested by the
                                                  from service hereof or a judgment
                                                                                Officemayofbe Judicial
                                                                                              entered against
                                                                                                          Records
                                                  you.                               22 JUN 2017 12:34 pm
                                                                                         K. EDWARDS
                                                   /s/ Mark D. Villanueva
                                                  Mark D. Villanueva
                                                  Attorney for Plaintiff Island View Properties, Inc.
                                                  trading as Island View Cross II, LP and Renato J. Gualtieri




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Fax: 215.564.8120                                      J. Gualtieri

ISLAND VIEW PROPERTIES, INC. trading              PHILADELPHIA COUNTY
as ISLAND VIEW CROSSING II, LP, and               COURT OF COMMON PLEAS
RENATO J. GUALTIERI
                                                  MARCH TERM, 2016
                            Plaintiffs,
              v.                                  NO. 03161
PRUDENTIAL SAVINGS BANK
                            Defendant.


                      PLAINTIFFS’ ANSWER TO
    DEFENDANT’S SECOND AMENDED COUNTERCLAIM AND NEW MATTER

              Plaintiffs, Island View Properties, Inc. (“IVP”), trading as Island View Crossing

II, LP (“IVC”), and Renato J. Gualtieri (“Mr. Gualtieri”) (the foregoing sometimes referred to

collectively as the “Island View Plaintiffs”) by and through their counsel hereby answer the

counterclaims (the “Counterclaims”) of Prudential Savings Bank (“Prudential” or “Defendant”)

stated in Prudential’s Answer, New Matter, and Second Amended Counterclaim (the “Second

Amended Counterclaim”) as follows:




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                                                COUNT I

                                         BACKGROUND

               1.      The Island View Plaintiffs incorporate by reference herein all of the

allegations set forth in their complaint (the “Complaint”) filed in this case on March 31, 2016, as

if such allegations were set forth at length.

               2.      Admitted in part and denied in part. It is admitted that parties other than

the Island View Plaintiffs may have entered into certain loan documents (the “Durham Loan

Documents”) and that copies of the note and loan agreement are attached. The Durham Loan

Documents are writings that speak for themselves and any inconsistent or incomplete

characterizations thereof are denied.

               3.      Admitted in part and denied in part. It is admitted that Mr. Gualtieri

entered into a certain surety agreement (the “Durham Surety Agreement”) and that a copy of the

Durham Surety Agreement is attached. The Durham Surety Agreement is a writing that speaks

for itself and any inconsistent or incomplete characterizations thereof are denied.

               4.      The allegations in this paragraph contain conclusions of law to which no

responsive pleading is required. To the extent that a response is required, the Durham Surety

Agreement is a writing that speaks for itself and any inconsistent or incomplete characterizations

thereof are denied.

               5.      The Durham Note is a writing that speaks for itself and any inconsistent or

incomplete characterizations thereof are denied.       Further, the allegations in this paragraph

contain conclusions of law to which no responsive pleading is required. To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.




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              6.      The Durham Note is a writing that speaks for itself and any inconsistent or

incomplete characterizations thereof are denied.    Further, the allegations in this paragraph

contain conclusions of law to which no responsive pleading is required. To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.

              7.      The Durham Loan Documents are writings that speak for themselves and

any inconsistent or incomplete characterizations thereof are denied. Further, the allegations in

this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

              8.      The Durham Loan Documents are writings that speak for themselves and

any inconsistent or incomplete characterizations thereof are denied. Further, the allegations in

this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

              9.      The Durham Loan Documents are writings that speak for themselves and

any inconsistent or incomplete characterizations thereof are denied. Further, the allegations in

this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

                                     Prudential Defaults

              10.     The Durham Loan Documents are writings that speak for themselves and

any inconsistent or incomplete characterizations thereof are denied. Further, the allegations in




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this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

               11.     The Durham Note is a writing that speaks for itself and any inconsistent or

incomplete characterizations thereof are denied.       Further, the allegations in this paragraph

contain conclusions of law to which no responsive pleading is required. To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.

               12.     The allegations in this paragraph contain conclusions of law to which no

responsive pleading is required. To the extent any allegations could be construed as factual, they

are hereby denied and strict proof is demanded thereof. By way of further answer, the Island

View Plaintiffs deny the allegations in this paragraph because: (i) Prudential cannot establish

that any of the Island View Plaintiffs are in default of their obligations to Prudential; and/or (ii)

as set forth in the Complaint, Prudential is the cause of the events about which it complains.

               13.     Admitted in part and denied in part. It is admitted that Prudential served a

notice on Mr. Gualtieri, the contents of which speak for itself. The effect of the notice is

specifically denied because the notice and the alleged “Maturity Date” both occurred many

months after the Island View Plaintiffs had filed the Complaint to commence this action.

               14.     The allegations in this paragraph contain conclusions of law to which no

responsive pleading is required. To the extent any allegations could be construed as factual, they

are hereby denied and strict proof is demanded thereof.

               15.     Admitted in part and denied in part. It is admitted that the Durham Note

has not been paid. However, the alleged “Maturity Date” of the Durham Note occurred many




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months after Prudential had been declared in default of its lending relationship with the Island

View Plaintiffs and the Complaint had been filed. By way of further answer, the Island View

Plaintiffs deny the allegations of this paragraph because: (i) Prudential cannot establish that any

of the Island View Plaintiffs are in default of their obligations to Prudential; and/or (ii) as set

forth in the Complaint, Prudential is the cause of the events about which it complains.

                                             Insurance

               16.     The Durham Loan Agreement is a writing that speaks for itself and any

inconsistent or incomplete characterizations thereof are denied. Further, the allegations in this

paragraph contain conclusions of law to which no responsive pleading is required. To the extent

any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

               17.     The Durham Loan Documents are writings that speak for themselves and

any inconsistent or incomplete characterizations thereof are denied. Further, the allegations in

this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs are

in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint, Prudential is

the cause of the events about which it complains.

               18.     The Durham Loan Documents are writings that speak for themselves and

any inconsistent or incomplete characterizations thereof are denied. Further, the allegations in

this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is




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demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs are

in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint, Prudential is

the cause of the events about which it complains.

                 No Amounts Are Owed Under the Durham Loan Documents

               19.     The Durham Note is a writing that speaks for itself and any inconsistent or

incomplete characterizations thereof are denied.        Further, the allegations in this paragraph

contain conclusions of law to which no responsive pleading is required. To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.

               20.     The Durham Note is a writing that speaks for itself and any inconsistent or

incomplete characterizations thereof are denied.        Further, the allegations in this paragraph

contain conclusions of law to which no responsive pleading is required. To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.

               21.     The Durham Note is a writing that speaks for itself and any inconsistent or

incomplete characterizations thereof are denied.        Further, the allegations in this paragraph

contain conclusions of law to which no responsive pleading is required. To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.

               22.     The Durham Loan Agreement is a writing that speaks for itself and any

inconsistent or incomplete characterizations thereof are denied. Further, the allegations in this

paragraph contain conclusions of law to which no responsive pleading is required. To the extent




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any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

              23.     The Durham Loan Agreement is a writing that speaks for itself and any

inconsistent or incomplete characterizations thereof are denied. Further, the allegations in this

paragraph contain conclusions of law to which no responsive pleading is required. To the extent

any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

              24.     The Durham Note is a writing that speaks for itself and any inconsistent or

incomplete characterizations thereof are denied.     Further, the allegations in this paragraph

contain conclusions of law to which no responsive pleading is required. To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.

              25.     The Durham Surety Agreement is a writing that speaks for itself and any

inconsistent or incomplete characterizations thereof are denied. Further, the allegations in this

paragraph contain conclusions of law to which no responsive pleading is required. To the extent

any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

              26.     Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

              27.     Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.




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               28.     Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               29.     Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts or any additional amounts are due to Prudential. To the

contrary, as set forth in the Complaint, it is Prudential that defaulted and owes damages to,

among others, the Island View Plaintiffs.

               30.     Denied. It is denied that “Prudential has fulfilled or otherwise satisfied all

conditions precedent under the Durham Loan Documents,” and denied that it has properly

declared a default. It is further denied that the stated amounts are due. To the contrary, as set

forth in the Complaint, it is Prudential that defaulted and owes damages to the Island View

Plaintiffs.

               WHEREFORE, the Island View Plaintiffs demand judgment in their favor and

against Prudential on its claim under Count I of its Counterclaims and such other relief as this

Court deems appropriate.

                                             COUNT II

                                         BACKGROUND

               31.     The Island View Plaintiffs incorporate by reference herein all of the

allegations set forth in their Complaint, as if such allegations were set forth at length.

               32.     Admitted in part and denied in part. It is admitted that the Island View

Plaintiffs may have entered into certain loan documents (the “Island View Loan Documents”)

and that copies of the note and loan agreement are attached. The Island View Loan Documents




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are writings that speak for themselves and any inconsistent or incomplete characterizations

thereof are denied.

               33.     Admitted.

               34.     The Island View Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations

in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

               35.     Admitted in part and denied in part. It is admitted that the Island View

Project includes seventy-three (73) townhouses and ninety-six (96) condominiums, but it is

denied that the Island View Project was approved with any particular or separate phasing or that

anything requires it to be developed in a particular order.

               36.     The Island View Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations

in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

               37.     The Island View Loan Agreement is a writing that speaks for itself and

any inconsistent or incomplete characterizations thereof are denied.        To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.

               38.     The Island View Loan Agreement is a writing that speaks for itself and

any inconsistent or incomplete characterizations thereof are denied.        To the extent any




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allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.

               39.     The Island View Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations

in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs are

in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint, Prudential is

the cause of the events about which it complains.

                                PRUDENTIAL IS IN DEFAULT

               40.     The Island View Loan Agreement is a writing that speaks for itself and

any inconsistent or incomplete characterizations thereof are denied.             To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.

               41.     The Island View Loan Documents and Durham Loan Documents are

writings that speak for themselves and any inconsistent or incomplete characterizations thereof

are denied. Further, the allegations in this paragraph contain conclusions of law to which no

responsive pleading is required. To the extent any allegations could be construed as factual, they

are hereby denied and strict proof is demanded thereof. By way of further answer, the Island

View Plaintiffs deny the allegations of this paragraph because: (i) Prudential cannot establish

that any of the Island View Plaintiffs are in default of their obligations to Prudential; and/or (ii)

as set forth in the Complaint, Prudential is the cause of the events about which it complains.




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               42.     The Island View Loan Documents and Durham Loan Documents are

writings that speak for themselves and any inconsistent or incomplete characterizations thereof

are denied. Further, the allegations in this paragraph contain conclusions of law to which no

responsive pleading is required. To the extent any allegations could be construed as factual, they

are hereby denied and strict proof is demanded thereof. By way of further answer, the Island

View Plaintiffs deny the allegations of this paragraph because: (i) Prudential cannot establish

that any of the Island View Plaintiffs are in default of their obligations to Prudential; and/or (ii)

as set forth in the Complaint, Prudential is the cause of the events about which it complains.

               Prudential Defaults and Demands Security Deposits Thereafter

               43.     The Island View Loan Agreement is a writing that speaks for itself and

any inconsistent or incomplete characterizations thereof are denied.             To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.

               44.     The contracts with the prospective purchasers are writings that speak for

themselves and any inconsistent or incomplete characterizations thereof are denied.               The

allegations in this paragraph contain conclusions of law to which no responsive pleading is

required. To the extent any allegations could be construed as factual, they are hereby denied and

strict proof is demanded thereof. By way of further answer, the Island View Plaintiffs deny the

allegations of this paragraph because: (i) Prudential cannot establish that any of the Island View

Plaintiffs are in default of their obligations to Prudential or the prospective purchasers; and/or (ii)

as set forth in the Complaint, Prudential is the cause of the events about which it complains,

including the inability of the Island View Plaintiffs to complete the townhouses purchased by the

prospective purchasers.




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               45.     The contracts with the prospective purchasers and the Caione Complaint

are writings that speak for themselves and any inconsistent or incomplete characterizations

thereof are denied.    Moreover, the Island View Plaintiffs have responded to the unproven

allegations in the Caione Complaint in an answer filed of record in that litigation.              The

allegations in this paragraph contain conclusions of law to which no responsive pleading is

required. To the extent any allegations could be construed as factual, they are hereby denied and

strict proof is demanded thereof. By way of further answer, the Island View Plaintiffs deny the

allegations of this paragraph because: (i) Prudential cannot establish that any of the Island View

Plaintiffs are in default of their obligations to Prudential or the prospective purchasers; and/or (ii)

as set forth in the Complaint, Prudential is the cause of the events about which it complains,

including the inability of the Island View Plaintiffs to complete the townhouses purchased by the

prospective purchasers.

               46.     The contracts with the prospective purchasers and the Caione Complaint

are writings that speak for themselves and any inconsistent or incomplete characterizations

thereof are denied.    Moreover, the Island View Plaintiffs have responded to the unproven

allegations in the Ranganathan Complaint in an answer filed of record in that litigation. The

allegations in this paragraph contain conclusions of law to which no responsive pleading is

required. To the extent any allegations could be construed as factual, they are hereby denied and

strict proof is demanded thereof. By way of further answer, the Island View Plaintiffs deny the

allegations of this paragraph because: (i) Prudential cannot establish that any of the Island View

Plaintiffs are in default of their obligations to Prudential or the prospective purchasers; and/or (ii)

as set forth in the Complaint, Prudential is the cause of the events about which it complains,




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including the inability of the Island View Plaintiffs to complete the townhouses purchased by the

prospective purchasers.

               47.     Denied. The Island View Plaintiffs deny the allegations of this paragraph

because: (i) Prudential cannot establish that any of the Island View Plaintiffs are in default of

their obligations to Prudential or the prospective purchasers; and/or (ii) as set forth in the

Complaint, Prudential is the cause of the events about which it complains, including the inability

of the Island View Plaintiffs to complete the townhouses purchased by the prospective

purchasers.

               48.     The Island View Loan Agreement is a writing that speaks for itself and

any inconsistent or incomplete characterizations thereof are denied.         To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof. By way of further answer, the Island View Plaintiffs and their affiliates have a long

history and course of dealing with Prudential that deviates significantly from the terms of

Prudential’s written loan documents.

               49.     The contracts with the prospective purchasers are writings that speak for

themselves and any inconsistent or incomplete characterizations thereof are denied. By way of

further answer, the Island View Plaintiffs deny Prudential’s incorrect characterization of any

funds received under such contracts.

               50.     Admitted in part and denied in part. It is admitted that certain lawsuits

have been filed by purchasers. Those lawsuits are writings that contain unproven allegations and

speak for themselves and any inconsistent or incomplete characterizations thereof are denied.

Moreover, the Island View Plaintiffs have responded to the unproven allegations in the lawsuits

in the answers filed of record in each such case.




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               51.     The Island View Loan Agreement is a writing that speaks for itself and

any inconsistent or incomplete characterizations thereof are denied.          To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.

               52.     Denied. It is denied that prior to Prudential’s many defaults under the

Island View Loan Documents, Prudential required security deposits to be delivered to it or had

even requested such deposits. To the contrary, the Island View Plaintiffs and their affiliates have

a long history and course of dealing pursuant to which Prudential never required such deposits to

be delivered to Prudential.     It was not until after Prudential had already defaulted on its

obligations to the Island View Plaintiffs that Prudential began to make demands for the deposits.

                                             Insurance

               53.     The Island View Loan Documents and the October 11, 2016 notice are

writings that speak for themselves and any inconsistent or incomplete characterizations thereof

are denied. Further, the allegations in this paragraph contain conclusions of law to which no

responsive pleading is required. To the extent any allegations could be construed as factual, they

are hereby denied and strict proof is demanded thereof. It is admitted that the October 11, 2016

notice was sent and that it was given more than six (6) months after the Island View Plaintiffs

instituted this litigation to address Prudential’s many defaults.

               54.     The Island View Loan Documents and the November 1, 2016 notice are

writings that speak for themselves and any inconsistent or incomplete characterizations thereof

are denied. Further, the allegations in this paragraph contain conclusions of law to which no

responsive pleading is required. To the extent any allegations could be construed as factual, they

are hereby denied and strict proof is demanded thereof. It is admitted that the November 1, 2016




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notice was sent and that it was given more than seven (7) months after the Island View Plaintiffs

instituted this litigation to address Prudential’s many defaults.

               55.     The Island View Loan Agreement is a writing that speaks for itself and

any inconsistent or incomplete characterizations thereof are denied.         To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.

               No Amounts Are Owed Under the Island View Loan Documents

               56.     The Island View Loan Agreement is a writing that speaks for itself and

any inconsistent or incomplete characterizations thereof are denied.         To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.

               57.     The Island View Note is a writing that speaks for itself and any

inconsistent or incomplete characterizations thereof are denied. To the extent any allegations

could be construed as factual, they are hereby denied and strict proof is demanded thereof.

               58.     The Island View Loan Documents and the Island View Note are writings

that speak for themselves and any inconsistent or incomplete characterizations thereof are

denied. Further, the allegations in this paragraph contain conclusions of law to which no

responsive pleading is required. To the extent any allegations could be construed as factual, they

are hereby denied and strict proof is demanded thereof.

               59.     The Island View Note is a writing that speaks for itself and any

inconsistent or incomplete characterizations thereof are denied. To the extent any allegations

could be construed as factual, they are hereby denied and strict proof is demanded thereof.




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               60.     Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               61.     Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               62.     Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               63.     Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               64.     Denied. It is denied that “Prudential has fulfilled or otherwise satisfied all

conditions precedent under the Island View Loan Documents,” and denied that it has properly

declared a default. It is further denied that the stated amounts are due. To the contrary, as set

forth in the Complaint, it is Prudential that defaulted and owes damages to the Island View

Plaintiffs.

               WHEREFORE, the Island View Plaintiffs demand judgment in their favor and

against Prudential on its claim under Count II of its Counterclaims and such other relief as this

Court deems appropriate.

                                            COUNT III

               65.     The Island View Plaintiffs incorporate by reference herein all of the

allegations set forth in their Complaint, as if such allegations were set forth at length.




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               66.     Admitted in part and denied in part. It is admitted that the Island View

Plaintiffs may have entered into certain loan documents (the “Island View Loan Documents”)

and that copies of the note and loan agreement are attached. The Island View Loan Documents

are writings that speak for themselves and any inconsistent or incomplete characterizations

thereof are denied.

               67.     The Island View Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations

in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs are

in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint, Prudential is

the cause of the events about which it complains.

                  The Operative Terms of the Island View Loan Documents

               68.     The Island View Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations

in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs are

in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint, Prudential is

the cause of the events about which it complains.




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               69.    The Island View Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations

in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

               70.    The Island View Loan Documents, including the Island View Loan

Agreement, are writings that speak for themselves and any inconsistent or incomplete

characterizations thereof are denied.     Further, the allegations in this paragraph contain

conclusions of law to which no responsive pleading is required. To the extent any allegations

could be construed as factual, they are hereby denied and strict proof is demanded thereof.

               71.    The Island View Loan Documents, including the Island View Loan

Agreement, are writings that speak for themselves and any inconsistent or incomplete

characterizations thereof are denied.     Further, the allegations in this paragraph contain

conclusions of law to which no responsive pleading is required. To the extent any allegations

could be construed as factual, they are hereby denied and strict proof is demanded thereof.

               72.    The Island View Loan Documents, including the Island View Loan

Agreement, are writings that speak for themselves and any inconsistent or incomplete

characterizations thereof are denied.     Further, the allegations in this paragraph contain

conclusions of law to which no responsive pleading is required. To the extent any allegations

could be construed as factual, they are hereby denied and strict proof is demanded thereof.

               73.    The Island View Loan Documents, including the Island View Loan

Agreement, are writings that speak for themselves and any inconsistent or incomplete

characterizations thereof are denied.     Further, the allegations in this paragraph contain




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conclusions of law to which no responsive pleading is required. To the extent any allegations

could be construed as factual, they are hereby denied and strict proof is demanded thereof.

               74.    The Island View Loan Documents, including the Island View Loan

Agreement, are writings that speak for themselves and any inconsistent or incomplete

characterizations thereof are denied.     Further, the allegations in this paragraph contain

conclusions of law to which no responsive pleading is required. To the extent any allegations

could be construed as factual, they are hereby denied and strict proof is demanded thereof.

               75.    The Island View Loan Documents, including the Island View Loan

Agreement, are writings that speak for themselves and any inconsistent or incomplete

characterizations thereof are denied.     Further, the allegations in this paragraph contain

conclusions of law to which no responsive pleading is required. To the extent any allegations

could be construed as factual, they are hereby denied and strict proof is demanded thereof.

               76.    The Island View Loan Documents, including the Island View Loan

Agreement, are writings that speak for themselves and any inconsistent or incomplete

characterizations thereof are denied.     Further, the allegations in this paragraph contain

conclusions of law to which no responsive pleading is required. To the extent any allegations

could be construed as factual, they are hereby denied and strict proof is demanded thereof.

               77.    The Island View Loan Documents, including the Island View Loan

Agreement, are writings that speak for themselves and any inconsistent or incomplete

characterizations thereof are denied.     Further, the allegations in this paragraph contain

conclusions of law to which no responsive pleading is required. To the extent any allegations

could be construed as factual, they are hereby denied and strict proof is demanded thereof.




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                78.    The Island View Loan Documents, including the Island View Loan

Agreement, are writings that speak for themselves and any inconsistent or incomplete

characterizations thereof are denied.        Further, the allegations in this paragraph contain

conclusions of law to which no responsive pleading is required. To the extent any allegations

could be construed as factual, they are hereby denied and strict proof is demanded thereof.

                 Prudential Breached Under the Island View Loan Documents

                79.    The Island View Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations

in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs are

in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint, Prudential is

the cause of the events about which it complains.

                80.    Admitted in part and denied in part. It is admitted that Prudential may

believe that discovery will be helpful to it, but the Island View Plaintiffs deny that Prudential’s

belief is accurate.

                81.    Denied. It is denied that breaches occurred or that Prudential has properly

declared a default, and it is denied that any amounts are due to Prudential. To the contrary, as set

forth in the Complaint, it is Prudential that defaulted and owes damages to, among others, the

Island View Plaintiffs.




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               82.     Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               83.     Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               84.     Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               85.     Denied. It is denied that “Prudential has fulfilled or otherwise satisfied all

conditions precedent under the Island View Loan Documents,” and denied that it has properly

declared a default. It is further denied that the stated amounts are due. To the contrary, as set

forth in the Complaint, it is Prudential that defaulted and owes damages to the Island View

Plaintiffs.

               WHEREFORE, the Island View Plaintiffs demand judgment in their favor and

against Prudential on its claim under Count III of its Counterclaims and such other relief as this

Court deems appropriate.

                                            COUNT IV

                                         BACKGROUND

               86.     The Island View Plaintiffs incorporate by reference herein all of the

allegations set forth in their Complaint, as if such allegations were set forth at length.

               87.     Admitted in part and denied in part. It is admitted that affiliates of the

Island View Plaintiffs may have entered into certain loan documents (the “Steeple Run Loan




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Documents”) and that copies of the note and loan agreement are attached. The Steeple Run Loan

Documents are writings that speak for themselves and any inconsistent or incomplete

characterizations thereof are denied.

               88.     Admitted in part and denied in part. It is admitted that Mr. Gualtieri

entered into a certain surety agreement (the “Steeple Run Surety Agreement”) and that a copy of

the Steeple Run Surety Agreement is attached. The Steeple Run Surety Agreement is a writing

that speaks for itself and any inconsistent or incomplete characterizations thereof is denied.

               89.     The allegations in this paragraph contain conclusions of law to which no

responsive pleading is required. To the extent that a response is required, the Steeple Run Surety

Agreement is a writing that speaks for itself and any inconsistent or incomplete characterizations

thereof is denied.

                                PRUDENTIAL IS IN DEFAULT

               90.     The Steeple Run Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations

in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs are

in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint, Prudential is

the cause of the events about which it complains.

               91.     The allegations in this paragraph contain conclusions of law to which no

responsive pleading is required. To the extent any allegations could be construed as factual, they

are hereby denied and strict proof is demanded thereof. By way of further answer, the Island




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View Plaintiffs deny the allegations of this paragraph because: (i) Prudential cannot establish

that any of the Island View Plaintiffs are in default of their obligations to Prudential; and/or (ii)

as set forth in the Complaint, Prudential is the cause of the events about which it complains.

               92.     The Steeple Run Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations

in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs are

in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint, Prudential is

the cause of the events about which it complains.

                                             Insurance

               93.     The Steeple Run Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations

in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

               94.     The Steeple Run Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations

in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs are




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in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint, Prudential is

the cause of the events about which it complains. It is admitted that the October 11, 2016 notice

was sent and that it was given more than six (6) months after the Island View Plaintiffs instituted

this litigation to address Prudential’s many defaults.

               95.     The Steeple Run Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations

in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

                                        Prudential Defaults

               96.     The Steeple Run Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations

in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

               97.     The Steeple Run Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations

in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs are

in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint, Prudential is

the cause of the events about which it complains.




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              No Amounts Are Owed Under the Steeple Run Loan Documents

               98.    The Steeple Run Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations

in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

               99.    The Steeple Run Note is a writing that speaks for itself and any

inconsistent or incomplete characterizations thereof are denied. To the extent any allegations

could be construed as factual, they are hereby denied and strict proof is demanded thereof.

               100.   The Steeple Run Note is a writing that speaks for itself and any

inconsistent or incomplete characterizations thereof are denied. To the extent any allegations

could be construed as factual, they are hereby denied and strict proof is demanded thereof.

               101.   The Steeple Run Note is a writing that speaks for itself and any

inconsistent or incomplete characterizations thereof are denied. To the extent any allegations

could be construed as factual, they are hereby denied and strict proof is demanded thereof.

               102.   The Steeple Run Note is a writing that speaks for itself and any

inconsistent or incomplete characterizations thereof are denied. To the extent any allegations

could be construed as factual, they are hereby denied and strict proof is demanded thereof.

               103.   Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.




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               104.    Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               105.    Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               106.    Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               107.    Denied. It is denied that “Prudential has fulfilled or otherwise satisfied all

conditions precedent under the Steeple Run Loan Documents,” and denied that it has properly

declared a default. It is further denied that the stated amounts are due. To the contrary, as set

forth in the Complaint, it is Prudential that defaulted and owes damages to the Island View

Plaintiffs.

               WHEREFORE, the Island View Plaintiffs demand judgment in their favor and

against Prudential on its claim under Count IV of its Counterclaims and such other relief as this

Court deems appropriate.

                                             COUNT V

                                         BACKGROUND

               108.    The Island View Plaintiffs incorporate by reference herein all of the

allegations set forth in their Complaint, as if such allegations were set forth at length.

               109.    Admitted in part and denied in part. It is admitted that the Island View

Plaintiffs may have entered into certain loan documents (the “Gualtieri Loan Documents”) and




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that copies of the note and loan agreement are attached. The Gualtieri Loan Documents are

writings that speak for themselves and any inconsistent or incomplete characterizations thereof

are denied.

               110.    Admitted in part and denied in part. It is admitted that affiliates of the

Island View Plaintiffs may have entered into certain loan documents (the “Steeple Run Loan

Documents”) and that copies of the note and loan agreement are attached. The Steeple Run Loan

Documents are writings that speak for themselves and any inconsistent or incomplete

characterizations thereof are denied.

               111.    The Gualtieri Loan Documents are writings that speak for themselves and

any inconsistent or incomplete characterizations thereof are denied. Further, the allegations in

this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs are

in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint, Prudential is

the cause of the events about which it complains.

                                PRUDENTIAL IS IN DEFAULT

               112.    The Gualtieri Loan Documents are writings that speak for themselves and

any inconsistent or incomplete characterizations thereof are denied. Further, the allegations in

this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs are




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in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint, Prudential is

the cause of the events about which it complains.

               113.    The Gualtieri Loan Documents are writings that speak for themselves and

any inconsistent or incomplete characterizations thereof are denied. Further, the allegations in

this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs are

in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint, Prudential is

the cause of the events about which it complains.

               114.    The Gualtieri Loan Documents are writings that speak for themselves and

any inconsistent or incomplete characterizations thereof are denied. Further, the allegations in

this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

                                        Prudential Defaults

               115.    The Gualtieri Loan Documents are writings that speak for themselves and

any inconsistent or incomplete characterizations thereof are denied. Further, the allegations in

this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

               116.    The Gualtieri Loan Documents are writings that speak for themselves and

any inconsistent or incomplete characterizations thereof are denied. Further, the allegations in




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this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs are

in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint, Prudential is

the cause of the events about which it complains.

                No Amounts Are Owed Under the Gualtieri Loan Documents

               117.    The Gualtieri Loan Documents are writings that speak for themselves and

any inconsistent or incomplete characterizations thereof are denied.             To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.

               118.    The Gualtieri Loan Documents are writings that speak for themselves and

any inconsistent or incomplete characterizations thereof are denied.             To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.

               119.    The Gualtieri Loan Documents are writings that speak for themselves and

any inconsistent or incomplete characterizations thereof are denied.             To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.

               120.    The Gualtieri Loan Documents are writings that speak for themselves and

any inconsistent or incomplete characterizations thereof are denied.             To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.




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               121.    Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               122.    Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               123.    Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               124.    Denied. It is denied that “Prudential has fulfilled or otherwise satisfied all

conditions precedent under the Gualtieri Loan Documents,” and denied that it has properly

declared a default. It is further denied that the stated amounts are due. To the contrary, as set

forth in the Complaint, it is Prudential that defaulted and owes damages to the Island View

Plaintiffs.

               WHEREFORE, the Island View Plaintiffs demand judgment in their favor and

against Prudential on its claim under Count V of its Counterclaims and such other relief as this

Court deems appropriate.

                                            COUNT VI

                                         BACKGROUND

               125.    The Island View Plaintiffs incorporate by reference herein all of the

allegations set forth in their Complaint, as if such allegations were set forth at length.

               126.    Admitted in part and denied in part. It is admitted that affiliates of the

Island View Plaintiffs may have entered into certain loan documents (the “State Street Loan




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Documents”) and that copies of the note and loan agreement are attached. The State Street Loan

Documents are writings that speak for themselves and any inconsistent or incomplete

characterizations thereof are denied.

               127.    Admitted in part and denied in part. It is admitted that Mr. Gualtieri

entered into a certain surety agreement (the “State Street Surety Agreement”) and that a copy of

the State Street Surety Agreement is attached. The State Street Surety Agreement is a writing

that speaks for itself and any inconsistent or incomplete characterizations thereof is denied.

               128.    The allegations in this paragraph contain conclusions of law to which no

responsive pleading is required. To the extent that a response is required, the State Street Surety

Agreement is a writing that speaks for itself and any inconsistent or incomplete characterizations

thereof is denied.

               129.    Admitted in part and denied in part. It is admitted that Mr. Gualtieri

entered into a certain allonge and that a copy of the allonge is attached. The allonge is a writing

that speaks for itself and any inconsistent or incomplete characterizations thereof is denied.

               130.    The allegations in this paragraph contain conclusions of law to which no

responsive pleading is required. To the extent that a response is required, the State Street Surety

Agreement is a writing that speaks for itself and any inconsistent or incomplete characterizations

thereof is denied.

               131.    The State Street Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations

in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of




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this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs are

in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint, Prudential is

the cause of the events about which it complains.

                                PRUDENTIAL IS IN DEFAULT

               132.    The State Street Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations

in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs are

in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint, Prudential is

the cause of the events about which it complains.

               133.    The Durham Loan Documents are writings that speak for themselves and

any inconsistent or incomplete characterizations thereof are denied. Further, the allegations in

this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs are

in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint, Prudential is

the cause of the events about which it complains.

               134.    The Gualtieri Loan Documents are writings that speak for themselves and

any inconsistent or incomplete characterizations thereof are denied. Further, the allegations in

this paragraph contain conclusions of law to which no responsive pleading is required. To the




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extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs are

in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint, Prudential is

the cause of the events about which it complains.

                                             Insurance

               135.    The State Street Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations

in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

               136.    The State Street Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations

in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs are

in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint, Prudential is

the cause of the events about which it complains. It is admitted that the October 11, 2016 notice

was sent and that it was given more than six (6) months after the Island View Plaintiffs instituted

this litigation to address Prudential’s many defaults.

               137.    The State Street Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations




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in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

                                        Prudential Defaults

               138.    The State Street Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations

in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

               139.    The State Street Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. Further, the allegations

in this paragraph contain conclusions of law to which no responsive pleading is required. To the

extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs are

in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint, Prudential is

the cause of the events about which it complains.

               No Amounts Are Owed Under the State Street Loan Documents

               140.    The State Street Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.




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              141.    The State Street Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.

              142.    The State Street Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.

              143.    The State Street Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.

              144.    The State Street Loan Documents are writings that speak for themselves

and any inconsistent or incomplete characterizations thereof are denied. To the extent any

allegations could be construed as factual, they are hereby denied and strict proof is demanded

thereof.

              145.    Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

              146.    Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.




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               147.    Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               148.    Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               149.    Denied. It is denied that “Prudential has fulfilled or otherwise satisfied all

conditions precedent under the State Street Loan Documents,” and denied that it has properly

declared a default. It is further denied that the stated amounts are due. To the contrary, as set

forth in the Complaint, it is Prudential that defaulted and owes damages to the Island View

Plaintiffs.

               WHEREFORE, the Island View Plaintiffs demand judgment in their favor and

against Prudential on its claim under Count VI of its Counterclaims and such other relief as this

Court deems appropriate.

                                            COUNT VII

                                         BACKGROUND

               150.    The Island View Plaintiffs incorporate by reference herein all of the

allegations set forth in their Complaint, as if such allegations were set forth at length.

               151.    Admitted in part and denied in part. It is admitted that affiliates of the

Island View Plaintiffs may have entered into certain loan documents (the “Street Associates

Loan Documents”) and that copies of the note and loan agreement are attached. The Street

Associates Loan Documents are writings that speak for themselves and any inconsistent or

incomplete characterizations thereof are denied.




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                152.    Admitted in part and denied in part. It is admitted that Mr. Gualtieri

entered into a certain surety agreement (the “Street Associates Surety Agreement”) and that a

copy of the Street Associates Surety Agreement is attached. The Street Associates Surety

Agreement is a writing that speaks for itself and any inconsistent or incomplete characterizations

thereof is denied.

                153.    The allegations in this paragraph contain conclusions of law to which no

responsive pleading is required. To the extent that a response is required, the Street Associates

Surety Agreement is a writing that speaks for itself and any inconsistent or incomplete

characterizations thereof is denied.

                154.    Admitted in part and denied in part. It is admitted that affiliates of the

Island View Plaintiffs may have entered into certain loan documents that comprise the Street

Associates Loan Documents and that a copy of the mortgage is attached. The Street Associates

Loan Documents are writings that speak for themselves and any inconsistent or incomplete

characterizations thereof are denied.

                155.    The Street Associates Loan Documents are writings that speak for

themselves and any inconsistent or incomplete characterizations thereof are denied. Further, the

allegations in this paragraph contain conclusions of law to which no responsive pleading is

required. To the extent any allegations could be construed as factual, they are hereby denied and

strict proof is demanded thereof. By way of further answer, the Island View Plaintiffs deny the

allegations of this paragraph because: (i) Prudential cannot establish that any of the Island View

Plaintiffs are in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint,

Prudential is the cause of the events about which it complains.




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                                 PRUDENTIAL IS IN DEFAULT

                156.    The Street Associates Note is a writing that speaks for itself and any

inconsistent or incomplete characterizations thereof are denied. To the extent any allegations

could be construed as factual, they are hereby denied and strict proof is demanded thereof.

                157.    The Street Associates Loan Documents are writings that speak for

themselves and any inconsistent or incomplete characterizations thereof are denied. Further, the

allegations in this paragraph contain conclusions of law to which no responsive pleading is

required. To the extent any allegations could be construed as factual, they are hereby denied and

strict proof is demanded thereof. By way of further answer, the Island View Plaintiffs deny the

allegations of this paragraph because: (i) Prudential cannot establish that any of the Island View

Plaintiffs are in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint,

Prudential is the cause of the events about which it complains.

                158.    The Street Associates Loan Documents are writings that speak for

themselves and any inconsistent or incomplete characterizations thereof are denied. Further, the

allegations in this paragraph contain conclusions of law to which no responsive pleading is

required. To the extent any allegations could be construed as factual, they are hereby denied and

strict proof is demanded thereof. By way of further answer, the Island View Plaintiffs deny the

allegations of this paragraph because: (i) Prudential cannot establish that any of the Island View

Plaintiffs are in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint,

Prudential is the cause of the events about which it complains.




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                                              Insurance

                159.    The Street Associates Loan Documents, including the mortgage, are

writings that speak for themselves and any inconsistent or incomplete characterizations thereof

are denied.

                160.    The Street Associates Loan Documents are writings that speak for

themselves and any inconsistent or incomplete characterizations thereof are denied. Further, the

allegations in this paragraph contain conclusions of law to which no responsive pleading is

required. To the extent any allegations could be construed as factual, they are hereby denied and

strict proof is demanded thereof. By way of further answer, the Island View Plaintiffs deny the

allegations of this paragraph because: (i) Prudential cannot establish that any of the Island View

Plaintiffs are in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint,

Prudential is the cause of the events about which it complains.

                161.    The Street Associates Loan Documents are writings that speak for

themselves and any inconsistent or incomplete characterizations thereof are denied. Further, the

allegations in this paragraph contain conclusions of law to which no responsive pleading is

required. To the extent any allegations could be construed as factual, they are hereby denied and

strict proof is demanded thereof. By way of further answer, the Island View Plaintiffs deny the

allegations of this paragraph because: (i) Prudential cannot establish that any of the Island View

Plaintiffs are in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint,

Prudential is the cause of the events about which it complains. It is admitted that the October 11,

2016 notice was sent and that it was given more than six (6) months after the Island View

Plaintiffs instituted this litigation to address Prudential’s many defaults.




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               162.   The Street Associates Loan Documents, including the mortgage, are

writings that speak for themselves and any inconsistent or incomplete characterizations thereof

are denied. To the extent any allegations could be construed as factual, they are hereby denied

and strict proof is demanded thereof.

            No Amounts Are Owed Under the Street Associates Loan Documents

               163.   The Street Associates Loan Documents, including the note, are writings

that speak for themselves and any inconsistent or incomplete characterizations thereof are

denied. To the extent any allegations could be construed as factual, they are hereby denied and

strict proof is demanded thereof.

               164.   The Street Associates Loan Documents, including the note, are writings

that speak for themselves and any inconsistent or incomplete characterizations thereof are

denied. To the extent any allegations could be construed as factual, they are hereby denied and

strict proof is demanded thereof.

               165.   The Street Associates Loan Documents, including the note, are writings

that speak for themselves and any inconsistent or incomplete characterizations thereof are

denied. To the extent any allegations could be construed as factual, they are hereby denied and

strict proof is demanded thereof.

               166.   The Street Associates Loan Documents, including the note, are writings

that speak for themselves and any inconsistent or incomplete characterizations thereof are

denied. To the extent any allegations could be construed as factual, they are hereby denied and

strict proof is demanded thereof.




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               167.   Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               168.   Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               169.   Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               170.   Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               171.   Denied. It is denied that “Prudential has fulfilled or otherwise satisfied all

conditions precedent under the State Street Loan Documents,” and denied that it has properly

declared a default. It is further denied that the stated amounts are due. To the contrary, as set

forth in the Complaint, it is Prudential that defaulted and owes damages to the Island View

Plaintiffs.

               WHEREFORE, the Island View Plaintiffs demand judgment in their favor and

against Prudential on its claim under Count VII of its Counterclaims and such other relief as this

Court deems appropriate.




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                                            COUNT VIII

                                          BACKGROUND

                172.    The Island View Plaintiffs incorporate by reference herein all of the

allegations set forth in their Complaint, as if such allegations were set forth at length.

                173.    Admitted in part and denied in part. It is admitted that the Island View

Plaintiffs may have entered into certain loan documents (the “Island View II Loan Documents”)

and that copies of the note and loan agreement are attached.              The Island View II Loan

Documents are writings that speak for themselves and any inconsistent or incomplete

characterizations thereof are denied.

                174.    The Island View II Loan Documents are writings that speak for

themselves and any inconsistent or incomplete characterizations thereof are denied. Further, the

allegations in this paragraph contain conclusions of law to which no responsive pleading is

required. To the extent any allegations could be construed as factual, they are hereby denied and

strict proof is demanded thereof. By way of further answer, the Island View Plaintiffs deny the

allegations of this paragraph because: (i) Prudential cannot establish that any of the Island View

Plaintiffs are in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint,

Prudential is the cause of the events about which it complains.

                                 PRUDENTIAL IS IN DEFAULT

                175.    The Island View II Note is a writing that speaks for itself and any

inconsistent or incomplete characterizations thereof are denied. To the extent any allegations

could be construed as factual, they are hereby denied and strict proof is demanded thereof.

                176.    The Island View II Loan Documents are writings that speak for

themselves and any inconsistent or incomplete characterizations thereof are denied. Further, the




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allegations in this paragraph contain conclusions of law to which no responsive pleading is

required. To the extent any allegations could be construed as factual, they are hereby denied and

strict proof is demanded thereof. By way of further answer, the Island View Plaintiffs deny the

allegations of this paragraph because: (i) Prudential cannot establish that any of the Island View

Plaintiffs are in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint,

Prudential is the cause of the events about which it complains.

                177.    The Island View II Loan Documents are writings that speak for

themselves and any inconsistent or incomplete characterizations thereof are denied. Further, the

allegations in this paragraph contain conclusions of law to which no responsive pleading is

required. To the extent any allegations could be construed as factual, they are hereby denied and

strict proof is demanded thereof. By way of further answer, the Island View Plaintiffs deny the

allegations of this paragraph because: (i) Prudential cannot establish that any of the Island View

Plaintiffs are in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint,

Prudential is the cause of the events about which it complains.

                                              Insurance

                178.    The Island View II Loan Documents, including the loan agreement, are

writings that speak for themselves and any inconsistent or incomplete characterizations thereof

are denied.

                179.    The Island View II Loan Documents, including the loan agreement, are

writings that speak for themselves and any inconsistent or incomplete characterizations thereof

are denied.

                180.    The Island View II Loan Documents are writings that speak for

themselves and any inconsistent or incomplete characterizations thereof are denied. Further, the




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allegations in this paragraph contain conclusions of law to which no responsive pleading is

required. To the extent any allegations could be construed as factual, they are hereby denied and

strict proof is demanded thereof. By way of further answer, the Island View Plaintiffs deny the

allegations of this paragraph because: (i) Prudential cannot establish that any of the Island View

Plaintiffs are in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint,

Prudential is the cause of the events about which it complains. It is admitted that the October 11,

2016 notice was sent and that it was given more than six (6) months after the Island View

Plaintiffs instituted this litigation to address Prudential’s many defaults.

                                             Judgments

                181.    The Island View II Loan Documents, including the loan agreement, are

writings that speak for themselves and any inconsistent or incomplete characterizations thereof

are denied.

                182.    The Island View II Loan Documents are writings that speak for

themselves and any inconsistent or incomplete characterizations thereof are denied. Further, the

allegations in this paragraph contain conclusions of law to which no responsive pleading is

required. To the extent any allegations could be construed as factual, they are hereby denied and

strict proof is demanded thereof. By way of further answer, the Island View Plaintiffs deny the

allegations of this paragraph because: (i) Prudential cannot establish that any of the Island View

Plaintiffs are in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint,

Prudential is the cause of the events about which it complains.

                183.    Denied. The Judgments have not impacted the ability of any of the Island

View Plaintiffs to perform their respective obligations owed to Prudential. To the contrary, it is

only the actions and inaction of Prudential in breaching its obligations to the Island View




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Plaintiffs that has impaired the Island View Plaintiff’s ability to perform. By way of further

answer, the Island View Plaintiffs deny the allegations of this paragraph because: (i) Prudential

cannot establish that any of the Island View Plaintiffs are in default of their obligations to

Prudential; and/or (ii) as set forth in the Complaint, Prudential is the cause of the events about

which it complains.

               184.    The allegations in this paragraph contain conclusions of law to which no

responsive pleading is required. To the extent any allegations could be construed as factual, they

are hereby denied and strict proof is demanded thereof. By way of further answer, the Island

View Plaintiffs and their affiliates have a long history and course of dealing with Prudential that

deviates significantly from the terms of Prudential’s written loan documents, and Prudential is

the cause of the events about which it complains.

      No Amounts Are Owed to Prudential Under the Island View II Loan Documents

               185.    The Island View II Loan Documents, including the note, are writings that

speak for themselves and any inconsistent or incomplete characterizations thereof are denied. To

the extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

               186.    The Island View II Loan Documents, including the note, are writings that

speak for themselves and any inconsistent or incomplete characterizations thereof are denied. To

the extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

               187.    The Island View II Loan Documents, including the note, are writings that

speak for themselves and any inconsistent or incomplete characterizations thereof are denied. To




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the extent any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

               188.    Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               189.    Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               190.    Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               191.    Denied. It is denied that Prudential has properly declared a default, and it

is denied that the stated amounts are due. To the contrary, as set forth in the Complaint, it is

Prudential that defaulted and owes damages to, among others, the Island View Plaintiffs.

               192.    Denied. It is denied that “Prudential has fulfilled or otherwise satisfied all

conditions precedent under the State Street Loan Documents,” and denied that it has properly

declared a default. It is further denied that the stated amounts are due. To the contrary, as set

forth in the Complaint, it is Prudential that defaulted and owes damages to the Island View

Plaintiffs.

               WHEREFORE, the Island View Plaintiffs demand judgment in their favor and

against Prudential on its claim under Count VIII of its Counterclaims and such other relief as this

Court deems appropriate.




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                                            COUNT IX

                                         BACKGROUND

               193.    The Island View Plaintiffs incorporate by reference herein all of the

allegations set forth in their Complaint, as if such allegations were set forth at length.

               194.    Admitted in part and denied in part. It is admitted that the Island View

Plaintiffs and Francesco Gualtieri (“F. Gualtieri”) may have entered into certain loan documents

(the “Lava Loan Documents”) and that copies of the note is attached.                 The Lava Loan

Documents are writings that speak for themselves and any inconsistent or incomplete

characterizations thereof are denied.

               195.    Admitted in part and denied in part. It is admitted that Mr. Gualtieri

entered into a certain surety agreement (the “Lava Guaranty Agreement”) and that a copy of the

Lava Guaranty Agreement is attached. The Lava Guaranty Agreement is a writing that speaks

for itself and any inconsistent or incomplete characterization thereof is denied.

               196.    The allegations in this paragraph contain conclusions of law to which no

responsive pleading is required. To the extent that a response is required, the Lava Guaranty

Agreement is a writing that speaks for itself and any inconsistent or incomplete characterization

thereof is denied.

               197.    Admitted in part and denied in part. It is admitted that Mr. Gualtieri

entered into a certain mortgage (the “Lava Mortgage”) and that a copy of the Lava Mortgage is

attached.   The Lava Mortgage is a writing that speaks for itself and any inconsistent or

incomplete characterization thereof is denied.

               198.    Admitted in part and denied in part. It is admitted that Prudential and

Lava entered into a loan sale agreement and various other, related documents (the “Lava Loan




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Sale Documents”), copies of which are attached. The Lava Loan Sale Documents are writings

that speak for themselves and any inconsistent or incomplete characterizations thereof is denied.

               199.    The Lava Loan Documents are writings that speak for themselves and any

inconsistent or incomplete characterizations thereof are denied. Further, the allegations in this

paragraph contain conclusions of law to which no responsive pleading is required. To the extent

any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs or

F. Gualtieri are in default of their obligations to Lava or Prudential; and/or (ii) as set forth in the

Complaint, Prudential is the cause of the events about which it complains because it

failed/refused to honor its unconditional commitment to refinance the Lava loan on or before

November 1, 2015 and committed other events of default described in the Complaint.

       PRUDENTIAL IS IN DEFAULT UNDER THE LAVA LOAN DOCUMENTS

               200.    The Lava Note is a writing that speaks for itself and any inconsistent or

incomplete characterizations thereof are denied.         To the extent any allegations could be

construed as factual, they are hereby denied and strict proof is demanded thereof.

               201.    The Lava Loan Documents are writings that speak for themselves and any

inconsistent or incomplete characterizations thereof are denied. Further, the allegations in this

paragraph contain conclusions of law to which no responsive pleading is required. To the extent

any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs or

F. Gualtieri are in default of their obligations to Lava or Prudential; and/or (ii) as set forth in the




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Complaint, Prudential is the cause of the events about which it complains because it

failed/refused to honor its unconditional commitment to refinance the Lava loan on or before

November 1, 2015.

               202.   The Lava Loan Documents, including the Lava Note, are writings that

speak for themselves and any inconsistent or incomplete characterizations thereof are denied.

Further, the allegations in this paragraph contain conclusions of law to which no responsive

pleading is required. To the extent any allegations could be construed as factual, they are hereby

denied and strict proof is demanded thereof.         By way of further answer, the Island View

Plaintiffs deny the allegations of this paragraph because: (i) Prudential cannot establish that any

of the Island View Plaintiffs or F. Gualtieri are in default of their obligations to Lava or

Prudential; and/or (ii) as set forth in the Complaint, Prudential is the cause of the events about

which it complains because it failed/refused to honor its unconditional commitment to refinance

the Lava loan on or before November 1, 2015.

               203.   Admitted.     By way of further answer, it was Prudential that had

unconditionally committed to F. Gualtieri and the Island View Plaintiffs to refinance and repay

the Lava Note on or before November 1, 2015 but has failed or refused to do so to date.

                                            Insurance

               204.   The Lava Loan Documents, including the Lava Guaranty Agreement and

Lava Mortgage, are writings that speak for themselves and any inconsistent or incomplete

characterizations thereof are denied.

               205.   The Lava Loan Documents, including the Lava Guaranty Agreement and

Lava Mortgage, are writings that speak for themselves and any inconsistent or incomplete

characterizations thereof are denied.




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               206.    The Lava Loan Documents are writings that speak for themselves and any

inconsistent or incomplete characterizations thereof are denied. Further, the allegations in this

paragraph contain conclusions of law to which no responsive pleading is required. To the extent

any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs are

in default of their obligations to Prudential; and/or (ii) as set forth in the Complaint, Prudential is

the cause of the events about which it complains.

                                             Judgments

               207.    The Lava Loan Documents are writings that speak for themselves and any

inconsistent or incomplete characterizations thereof are denied. Further, the allegations in this

paragraph contain conclusions of law to which no responsive pleading is required. To the extent

any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof.

               208.    The Lava Loan Documents are writings that speak for themselves and any

inconsistent or incomplete characterizations thereof are denied. Further, the allegations in this

paragraph contain conclusions of law to which no responsive pleading is required. To the extent

any allegations could be construed as factual, they are hereby denied and strict proof is

demanded thereof. By way of further answer, the Island View Plaintiffs deny the allegations of

this paragraph because: (i) Prudential cannot establish that any of the Island View Plaintiffs or

F. Gualtieri are in default of their obligations to Lava or Prudential; and/or (ii) as set forth in the

Complaint, Prudential is the cause of the events about which it complains.




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               209.   The allegations in this paragraph contain conclusions of law to which no

responsive pleading is required. To the extent any allegations could be construed as factual, they

are hereby denied and strict proof is demanded thereof. By way of further answer, the Island

View Plaintiffs and their affiliates have a long history and course of dealing with Prudential that

deviates significantly from the terms of Prudential’s written loan documents, and Prudential is

the cause of the events about which it complains.

          No Amounts Are Owed to Prudential Under the Lava Loan Documents

               210.   The Lava Note is a writing that speaks for itself and any inconsistent or

incomplete characterization thereof is denied. To the extent any allegations could be construed

as factual, they are hereby denied and strict proof is demanded thereof.

               211.   The Lava Note is a writing that speaks for itself and any inconsistent or

incomplete characterization thereof is denied. To the extent any allegations could be construed

as factual, they are hereby denied and strict proof is demanded thereof.

               212.   The Lava Note is a writing that speaks for itself and any inconsistent or

incomplete characterization thereof is denied. To the extent any allegations could be construed

as factual, they are hereby denied and strict proof is demanded thereof.

               213.   The Lava Note is a writing that speaks for itself and any inconsistent or

incomplete characterization thereof is denied. To the extent any allegations could be construed

as factual, they are hereby denied and strict proof is demanded thereof.

               214.   The Lava Loan Documents are writings that speak for themselves and any

inconsistent or incomplete characterizations thereof are denied. To the extent any allegations

could be construed as factual, they are hereby denied and strict proof is demanded thereof.




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               215.    Denied. It is denied that Prudential is entitled to enforce any of the rights

and remedies under the Lava Loan Documents after it failed to comply with its unconditional

commitment to refinance the Lava Note, and it is denied that the stated amounts are due. To the

contrary, as set forth in the Complaint, it is Prudential that defaulted and owes damages to,

among others, the Island View Plaintiffs and F. Gualtieri.

               216.    Denied. It is denied that Prudential is entitled to enforce any of the rights

and remedies under the Lava Loan Documents after it failed to comply with its unconditional

commitment to refinance the Lava Note, and it is denied that the stated amounts are due. To the

contrary, as set forth in the Complaint, it is Prudential that defaulted and owes damages to,

among others, the Island View Plaintiffs and F. Gualtieri.

               217.    Denied. It is denied that “Prudential has fulfilled or otherwise satisfied all

conditions precedent under the Lava Loan Documents,” and denied that it has properly declared

a default. It is further denied that the stated amounts are due. To the contrary, as set forth in the

Complaint, it is Prudential that defaulted and owes damages to the Island View Plaintiffs and F.

Gualtieri..

               WHEREFORE, the Island View Plaintiffs demand judgment in their favor and

against Prudential on its claim under Count VIII of its Counterclaims and such other relief as this

Court deems appropriate.

                                           NEW MATTER

               1.      The Island View Plaintiffs incorporate by reference the Complaint and all

prior paragraphs of their Answer to Counterclaims and New Matter as if set forth at length herein.

               2.      Prudential’s claims are barred, in whole or in part, due to its unclean

hands.




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               3.      Prudential’s claims are barred, in whole or in part, by the doctrines of

waiver, estoppel, and/or laches.

               4.      Prudential’s claims are barred, in whole or in part, by its conduct which

fraudulently and/or negligently induced Francesco Gualtieri to enter into the Lava loan.

               5.      Prudential’s claims are barred, in whole or in part, by the doctrine of

impossibility of performance.

               6.      Prudential’s claims are barred, in whole or in part, because Prudential’s

defaults described in the Complaint.

               7.      Prudential’s claims are barred, in whole or in part, because Prudential

cannot establish that any of the Island View Plaintiffs are in default of their obligations to

Prudential.

               8.      Prudential’s claims are barred, in whole or in part, because, as set forth in

the Complaint, Prudential is the cause of the events about which it complains

               WHEREFORE the Island View Plaintiffs respectfully requests that judgment be

entered in their favor and against Prudential on Prudential’s Second Amended Counterclaim.

                                               /s/ Mark D. Villanueva
                                              Mark D. Villanueva, Esquire
                                              Corey S. D. Norcross, Esquire
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                                              J. Gualtieri

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                                CERTIFICATE OF SERVICE

       I, Corey S. D. Norcross, hereby certify that on this 22nd day of June, 2017, I caused to be

served a true and correct copy of the Plaintiffs’ Answer to Defendant’s Second Amended

Counterclaim and New Matter upon the following via the Court’s electronic filing system:

                                   Nicholas Poduslenko
                                      David Seidman
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                                    Attorneys for Defendant
                                    Prudential Savings Bank

Dated: June 22, 2017

                                                    /s/ Corey S. D. Norcross
                                                    Corey S. D. Norcross




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